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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,                 §
                                          §
V.                                        §         No. 3:17-cr-341-B (17)
                                          §
JASON SNOW,                               §
                                          §
             Defendant.                   §

                    MEMORANDUM OPINION AND ORDER

      In the Order Accepting Report and Recommendation of the United States

Magistrate Judge Concerning Plea of Guilty, dated August 30, 2018, United States

District Judge Jane J. Boyle has referred this matter to the undersigned United States

magistrate judge for a hearing to determine whether it has been clearly shown that

there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Jason

Snow should not be detained under 18 U.S.C. § 3143(a)(2) and whether it has been

shown by clear and convincing evidence that Defendant Jason Snow is not likely to flee

or pose a danger to any other person or the community if released under 18 U.S.C. §

3142(b) or (c). See Dkt. No. 397.

                                    Background

      Defendant is set for sentencing before Judge Boyle on November 15, 2018. See

Dkt. No. 365. “[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries

governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

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      “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

there is a substantial likelihood that a motion for acquittal or new trial will be granted;

or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.” 18 U.S.C. § 3143(a)(2).

      Defendant filed an unopposed Motion to Continue His Pre-Trial Release in

which he identifies the exceptional circumstances under 18 U.S.C. § 3145(c) that he

contends justify his continued release post-conviction and in which he addresses

whether he is likely to flee or pose a danger to any other person or the community if

released under 18 U.S.C. § 3142(b) or (c) pending sentencing. See Dkt. No. 410.

      The Court held a hearing on September 11, 2018 on the matters referred by

Judge Boyle, at which Defendant appeared in person and through counsel and the

government’s counsel appeared. See Dkt. No. 411.

                           Legal Standards and Analysis

      As a preliminary matter, Defendant is subject to mandatory detention under

Section 3143(a)(2) because he has, on a guilty plea, now been adjudged guilty of a

violation of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(C). See Dkt. Nos. 294, 364, & 397.

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That is “an offense in a case described in subparagraph (A) ... of subsection (f)(1) of

section 3142,” specifically, “an offense for which a maximum term of imprisonment of

ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et

seq.).”

          Defendant therefore must be detained pursuant to 18 U.S.C. § 3143(a)(2) unless

he meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C. § 3145(c).

Release of “a person who has been found guilty of an offense in a case described in [18

U.S.C. § 3142(f)(1)(A)] and is awaiting imposition or execution of sentence” requires

that “the judicial officer finds by clear and convincing evidence that the person is not

likely to flee or pose a danger to any other person or the community.” 18 U.S.C. §

3143(a)(2)(B); see also United States v. Morrison, 833 F.3d 491, 506 (5th Cir. 2016)

(“The decision to detain Jacqueline after conviction is a common one because of the

presumption in favor of detention that attaches to a convicted defendant. See 18 U.S.C.

§ 3143.”); United States v. Lopez, 504 F. App’x 297, 298 (5th Cir. 2012) (“A defendant

who has been convicted ‘shall ... be detained’ pending sentencing ‘unless the judicial

officer finds by clear and convincing evidence that the person is not likely to flee or

pose a danger to the safety of any other person or the community if released.’ Thus,

there is a presumption against release pending sentencing.” (footnotes omitted)). As

the United States Court of Appeals for the Fifth Circuit has repeatedly recognized,

Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a burden on

a convicted defendant seeking release pending sentencing to show by clear and

convincing evidence that she or he is not a flight risk or a danger to the community. See

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18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c) (“The burden of establishing that the

defendant will not flee or pose a danger to any other person or to the community rests

with the defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097,

2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).

      Further, Defendant must meet the conditions of release set forth in Section

3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that he can, satisfy the

Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that an attorney for the government has

recommended that no sentence of imprisonment be imposed on Defendant.

      18 U.S.C. § 3145(c) provides that “[a] person subject to detention pursuant to [18

U.S.C. §] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18

U.S.C. §] 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions,

by the judicial officer, if it is clearly shown that there are exceptional reasons why such

person’s detention would not be appropriate.” As reflected in the Report and

Recommendation Concerning Plea of Guilty [Dkt. No. 364], Section 3145(c) provides

an alternative basis for pre-sentencing release under “exceptional circumstances,” so

long as Defendant also makes the required showing under Section 3143(a)(1) and

3143(a)(2)(B) – that is, by clear and convincing evidence that Defendant is not likely

to flee or pose a danger to the safety of any other person or the community if released

under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. See United States v. Carr, 947

F.2d 1239, 1240 (5th Cir. 1991).

      The Court finds that Defendant has made the required showing that he is not

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likely to flee or pose a danger to the safety of any other person or the community if

continued on release. As Defendant explains in his motion,

      the wholly uneventful nature of the preceding ten months of Defendant
      Snow’s pre-trial release is dispositive in terms of the issue of Defendant’s
      risk of flight or danger to the community. There is, accordingly, nothing
      to suggest any intervening change of circumstance with which to warrant
      revisiting these issues previously resolved by the Court when it granted
      him conditions of release on November 6, 2017. (Dkt.#158). For that
      matter, Defendant’s physical condition has so deteriorated that he poses
      an even substantially lower risk than at the time originally released as
      flight – or any physical action that could be construed as dangerous – are
      both foreclosed in his current state.

Dkt. No. 410 at 2-3.

      The issue of Defendant’s presentencing release therefore turns on whether “it

is clearly shown that there are exceptional reasons why [Defendant’s] detention

[pending sentencing] would not be appropriate.” 18 U.S.C. § 3145(c). In support of that

showing, Defendant explains that,

      [w]hile the provisions of 18 U.S.C. § 3145(c) speak to “exceptional
      reasons” to justify a a defendant’s continued release subsequent to
      pleading to a ten year-plus qualifying offense – such as Defendant pled
      to on July 31, 2018 – in the context of Defendant Snow’s circumstances
      the inquiry is nothing short of existential; Defendant’s return to custody
      is virtually certain to hasten an already inevitably premature death.
      ....
             Attached as Exhibits A and B, are letters from two of Defendant’s
      treating physicians – Dr. Cara East, Medical Director of the Soltero
      Cardio Research Center at Baylor, Dallas, and Dr. Hujefa Y. Vora,
      respectively. While Dr. East’s letter reflects a date of July 5, 2018, Dr.
      Vora’s letter is undated.
      ....
             In light of the clarity of the letters, further explication from a
      non-expert seems unnecessary, save for Dr. East’s statement that she is
      “concerned about his ability to tolerate incarceration.” Though not stated
      in the letter, Defendant Snow has been informed by Dr. East that his
      incarceration will absolutely preclude his placement on the transplant

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      list. It could reasonably be stated then, in terms of pure logic, that while
      Defendant Snow may not receive a heart transplant regardless of any
      circumstances pertaining to his case, incarcerating him will absolutely
      assure that he does not receive a transplant. Counsel respectfully submits
      that where incarceration precludes the chance of the only life saving
      measure available, there is the most exceptional reason why detention
      would be inappropriate.
      ...
               Independent of Defendant Snow’s heart, his health has
      deteriorated in every respect to a degree that a facility will be unable to
      address his constant needs. In the intervening ten months since being
      placed on pre-trial release, Defendant has been hospitalized countless
      times, including a stay in the ICU, and for prolonged periods, exceeding
      a week even. He has had his gallbladder removed, and begun treatment
      for kidney failure.
      ,...
               Counsel respectfully submits that the life or death nature of
      incarceration for Defendant is perhaps the most elemental expression of
      exceptional circumstances, and requests that Defendant Snow be
      continued on bond.

Id. at 1-3 (emphasis omitted).

      The United States Court of Appeals for the Fifth Circuit has explained that the

“exceptional reasons” provision “was added to § 3145(c) with the mandatory detention

provisions of § 3143(a)(2) and (b)(2) and was apparently designed to provide an avenue

for exceptional discretionary relief from those provisions.” Carr, 947 F.2d at 1240. The

United States Court of Appeals for the Second Circuit offers a working definition of

“exceptional reasons”: “a unique combination of circumstances giving rise to situations

that are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir.

1991). That court also explained that, in assessing reasons proffered as the basis for

release under Section 3145(c), “a case by case evaluation is essential.” Id. The United

States Court of Appeals for the Eighth Circuit has similarly explained that


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“‘exceptional’ means ‘clearly out of the ordinary, uncommon, or rare.’” United States v.

Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court has explained

that, “to avoid emasculating the mandatory detention statute[,] ‘exceptional reasons

review is limited to determining whether remanding the defendant to custody until

sentencing would be tantamount to subjecting individuals to unjust detention.’” United

States v. Thomas, No. 10-cr-229, 2010 WL 3323805, at *2 (D.N.J. Aug. 20, 2010)

(quoting United States v. Christman, 712 F. Supp. 2d 651, 655 (E.D. Ky. 2010)).

      District courts in this circuit have noted a variety of circumstances that do not

rise to the level of exceptional. See United States v. Cyrus, No. 10-0228-04, 2010 WL

5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to “secure his home and attend to

other personal matters” were not exceptional reasons justifying release pending

sentencing); United States v. Douglas, 824 F. Supp. 98, 99-100 (N.D. Tex. 1993)

(defendant’s cooperation with the government that subjected him to potential

retaliation by co-defendants and his attempts at rehabilitation did not constitute

exceptional reasons); United States v. Dempsey, No. 91-098, 1991 WL 255382, at *1-*2

(E.D. La. Nov. 19, 1991) (poor health, emotional and mental problems, and need to

properly prepare his business and his family for his long absence were not exceptional

circumstances); United States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2

(E.D. Tex. Nov. 22, 1995) (need to assist parent was a purely personal reason that was

no more exceptional than those routinely rejected by courts); see also United States v.

Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept. 4, 2015);

United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).

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      As to a defendant’s age and health issues, “‘[c]ourts have found that chronic

medical conditions are not exceptional reasons justifying release.’” United States v.

Varney, Crim. No. 12-09-ART-HAI-(1), 2013 WL 2406256, at *5 (E.D. Ky. May 31,

2013) (quoting United States v. Parker, No. 1:10-CR-28, 2011 WL 672309, at *2 (E.D.

Tenn. Feb 18, 2011). But courts have explained that “[a]n acute need for medical care,

on the other hand, may justify release,” such as where a defendant needs dialysis

treatment and surgery or presents with an illness that is sufficiently grave or a course

of treatment that makes detention inappropriate. Parker, 2011 WL 672309, at *2.

Courts have denied release where, “[a]lthough Defendant’s medical conditions are

serious, they are not beyond the ability of the United States Marshals Service [] to

manage.” Varney, 2013 WL 2406256, at *5. “A chronic medical condition controlled by

medication is generally not an exceptional reason justifying release,” where “[a] chronic

condition will be present whenever the defendant is incarcerated, so it does not provide

a unique reason why pre-sentencing detention would be inappropriate.” Id. at *1.

      Here, the record is clear that Defendant’s health condition is deteriorating and

that he likely will need a heart transplant in the near future but will be unable to

receive one if he is detained pending sentencing. The Court finds that the totality of the

facts that Defendant urges as exceptional circumstances, including his compliance with

all of his conditions of pretrial release, are, taken together, a unique combination of

circumstances giving rise to a situation that is out of the ordinary and in which

Defendant’s presentencing detention would not be appropriate.

                                      Conclusion

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      The Court finds that Defendant Jason Snow has presented so unique a

combination of circumstances that is so clearly out of the ordinary, uncommon, or rare

as to justify ordering release pending sentencing under Section 3145(c) and that

Defendant Jason Snow met his burden to clearly show exceptional circumstances why

he should not be detained pending sentencing – that is, exceptional reasons why his

detention would not be appropriate – and to show by clear and convincing evidence

that he is not likely to flee or pose a danger to any other person or the community if he

remains on release under 18 U.S.C. § 3142(c).

      Defendant Jason Snow is ORDERED to remain on release, subject to the Court’s

Order Setting Conditions of Release [Dkt. No. 158],pending his sentencing before

United States District Judge Jane J. Boyle.

      SO ORDERED.

      DATED: September 11, 2018



                                            ________________________________________
                                            DAVID L. HORAN
                                            UNITED STATES MAGISTRATE JUDGE




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